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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

IN RE: MCCORMICK & COMPANY, INC.,
PEPPER PRODUCTS MARKETING AND SALES
PRACTICES LITIGATION MDL Docket No. 2665

THIS DOCUMENT RELATES TO: Misc. No. 15-1825 (ESH)

Watkins Incorporated v. McCormick & Company,
Inc., No. 1:15-CV-02188-ESH

 

 

SUPPLEMENTAL MEMORANDUM IN SUPPORT OF
MCCORMICK & COMPANY, INC.’S MOTION TO DISMISS

McCormick & Company, Inc. (“McCormick”) submits this Supplemental Memorandum
in further support of its Motion to Dismiss the claims against it brought by Watkins Incorporated
(Dkt. #37). This additional brief was necessitated in order to address certain new allegations
included as paragraphs 56 through 66 of Watkins’s proposed “Second Amended Complaint.”
(Dkt. #51-1) (“SAC”).

The section that has been added in Watkins’s new pleading, entitled “Watkins’
Damages,” purports to attribute the apparent failure of a “test program” for Watkins pepper
products at Wal-Mart stores to alleged “slack-filled” McCormick products. None of the new
allegations, however, provides any factual basis to show that Watkins’s failure to satisfy Wal-
Mart or meet its own “expectations” was fairly traceable to, or proximately caused by, actions of
McCormick.

Watkins alleges that “[iJn 2014, Target Stores approved the sale of Watkins black pepper
products” and, in 2015, those products “became available in approximately 1,400 Target stores
nationwide.” SAC 56. At the same time, Watkins black pepper products were tested in 501

Wal-Mart stores. SAC 957. Watkins alleges that it “believed” that the test program in the Wal-

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Mart stores “would succeed, just as they had in Target.” SAC § 58 (emphasis supplied). But
Watkins asserts that, although it “anticipated higher sales,” it “fell short of Wal-Mart’s
requirements.” SAC { 59.! Watkins blames the failure of its product to satisfy Wal-Mart on the
presence of McCormick’s products, which it alleges conveyed “the wrong impression” to
consumers.

To the extent that these allegations relate to issues raised in McCormick’s Motion to
Dismiss, they appear calculated to address Watkins’s lack of constitutional standing and lack of
statutory standing under the Lanham Act.” But the allegations still include no facts whatsoever
that actually link the failure of Watkins’s test program at Wal-Mart to McCormick. Watkins
does not identify any “confused” or “misled” consumers, and, even if there were such persons,
there are no facts alleged to show that they otherwise would have purchased Watkins’s pepper.
The speculative and conclusory allegations suggesting what “impression” some unidentified (and
unidentifiable) consumers supposedly had cannot provide the requisite causal connection
between McCormick’s conduct and Watkins’s alleged injury. Indeed, Watkins itself alleges that
its black pepper products were a “success” at Target Stores, SAC {ff 58, 63, where competition
from McCormick black pepper products would have been equally present. Thus, Watkins’s own
allegations indicate that the problem at Wal-Mart was not something attributable to McCormick

but simply the failure of Watkins’s products to meet its own subjective “expectations” and Wal-

 

| Thus, this is not a case in which there was a longstanding track record of performance that
inexplicably deteriorated. The speculative “benchmark” that Watkins alleges is simply what it
hoped would happen during the Wal-Mart test program.

* There are multiple additional grounds for dismissal asserted in McCormick’s motion, for
example, the fact that there is no authority whatsoever for recognizing “slack-filling” containers
as “false advertising” for purposes of the Lanham Act.

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Mart’s requirements.”
CONCLUSION
Watkins’s new allegations are not a legally sufficient basis to make the causal connection
necessary to support a claim against McCormick, and the claims, having been amended multiple
times, now should be dismissed with prejudice. See, e.g., Lexmark Int'l v. Static Control
Components, Inc., 134 S. Ct. 1377, 1394 (2014) (finding insufficient allegations of indirect

injury that might have resulted from “any number of [other] reasons.”

Respectfully submitted,

DATED: July 6, 2016 By: /s/ David H. Bamberger
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3 Watkins’s theory consists of multiple layers of speculation: (1) that (unidentified) consumers
did not get what they “expected” in the tins of McCormick pepper; (2) had they known, these
unidentified persons would have chosen to purchase Watkins’s pepper instead (3) in sufficient
numbers to meet Watkins’s own subjective “expectations” (4) and satisfy Wal-Mart’s
requirements. There are no actual facts alleged by Watkins to support any of these propositions.

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CERTIFICATE OF SERVICE
I hereby certify that on this 6" day of July 2016, I caused to be electronically filed the
foregoing Supplemental Memorandum in Support of McCormick & Company, Inc.’s Motion to
Dismiss with the Clerk of Court using the CM/ECF system, which will then send a notification

of such filing to all counsel registered through CM/ECF.

/s/ David H. Bamberger
David H. Bamberger

Attorney for Defendant
McCormick & Company, Inc.

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